        Case 4:17-cv-01618 Document 48 Filed in TXSD on 09/04/18 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

    DISH NETWORK L.L.C.,                          §
                                                  §
             Plaintiff,                           § Civil Action No. 4:17-cv-01618
                                                  §
        v.                                        §
                                                  §
    SHAHJAHAN DURRANI, d/b/a ZemTV,               §
    and ADAM LACKMAN, d/b/a                       §
    www.tvaddons.ag, www.tvaddons.org,            §
    www.streamingboxes.com, and                   §
    www.offshoregit.com
                                                  §
                                                  §
             Defendants.                          §


                 Stipulation of Voluntary Dismissal as to Defendant Adam Lackman

        IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff DISH Network

L.L.C. (“DISH”) and Defendant Adam Lackman (“Lackman”) that all causes of action in DISH’s

amended complaint as to Lackman are voluntarily dismissed with prejudice pursuant to Federal

Rules of Civil Procedure 41(a)(1)(A)(ii) and a confidential settlement agreement. DISH and

Lackman shall each bear their own fees, costs, and expenses. This stipulation has no effect on

DISH’s claims against co-defendant Shahjahan Durrani1.

Dated: September 4, 2018

                                                  Respectfully submitted,

                                                  HAGAN NOLL & BOYLE LLC
                                              By: s/ Stephen M. Ferguson
                                                  Stephen M. Ferguson (attorney-in-charge)
                                                  Texas Bar No. 24035248
                                                  Southern District of Texas Bar No. 614706
                                                  Two Memorial City Plaza

1
    The Court entered default against Shahjahan Durrani on May 23, 2018. (Dkt. 36.)
     Case 4:17-cv-01618 Document 48 Filed in TXSD on 09/04/18 Page 2 of 2



                                                 820 Gessner, Suite 940
                                                 Houston, Texas 77024
                                                 Telephone: (713) 343-0478
                                                 Facsimile: (713) 758-0146

                                                 Joseph H. Boyle (of counsel)
                                                 Texas Bar No. 24031757
                                                 Southern District of Texas Bar No. 30740

                                                 Counsel for Plaintiff DISH Network L.L.C.


                                          By: s/ Erin Russell
                                              Erin Russell
                                              Illinois Bar No. 6287255 (pro hac vice)
                                              Georgia Bar No. 141494
                                              THE RUSSELL FIRM, LLC
                                              650 W Lake Street, Suite 210A
                                              Chicago, IL 60661
                                              Telephone: (312) 994-2424

                                                 Jason E. Sweet
                                                 Massachusetts Bar No. 668596 (pro hac vice)
                                                 BOOTH SWEET LLP
                                                 32R Essex Street
                                                 Cambridge, MA 02139
                                                 Telephone: (617) 250-8619

                                                 Counsel for Defendant Adam Lackman


                                   Certificate of Service

       I hereby certify that on September 4, 2018, a true and correct copy of the foregoing
document was filed electronically with the Clerk of the Court, using the CM/ECF system, which
sent notification of such filing to all CM/ECF participants in this case.

                                                    s/ Stephen M. Ferguson
                                                   Stephen M. Ferguson




                                             2
